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                               UNITED STATES DISTRICT COURT


                               EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                                    No. 1:03-cr-05165-LJO

                  Plaintiff,
                                                             DETENTION ORDER
       v.                                                    (Violation of Supervised Release )

HECTOR FELIX,

                  Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of his
supervised release; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court finds that:
   X     The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to flee; and/or

         The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to pose a danger to the safety of any other person or the community if
released under 18 U.S.C. § 3142(b) or (c).
       This finding is based on the reasons stated on the record.

   DATE: 2/20/2014                                             /s/ Jennifer L. Thurston
                                                              U.S. Magistrate Judge
